      Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 1 of 46




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

LEROY PERNELL, et al.,

       Plaintiffs,

v.
                                             Case No.: 4:22-cv-304

FLORIDA BOARD OF GOVERNORS OF
THE STATE UNIVERSITY SYSTEM, et al.,
       Defendants.


     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
               FOR PRELIMINARY INJUNCTION

      Jerry Edwards                      Emerson Sykes
      AMERICAN CIVIL LIBERTIES           Leah Watson
        UNION FOUNDATION OF FLORIDA      Sarah Hinger
      Fla. Bar No. 1003437               Laura Moraff
      933 Lee Road, Suite 102            AMERICAN CIVIL LIBERTIES
      Orlando, FL 32810                     UNION FOUNDATION
      Tel.: (786) 363-1107               Jason Leckerman
      jedwards@aclufl.org                Charles Tobin
      Daniel B. Tilley                   Jacqueline Mabatah
      Katherine H. Blankenship           Isabella Salomão Nascimento
      Caroline McNamara                  BALLARD SPAHER LLP
      AMERICAN CIVIL LIBERTIES           Morenike Fajana
        UNION FOUNDATION OF FLORIDA      Jin Hee Lee
                                         Santino Coleman
                                         NAACP LEGAL DEFENSE AND
      Counsel for Plaintiffs
                                         EDUCATIONAL FUND, INC.
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 2 of 46




                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................... ii

INTRODUCTION .....................................................................................................1

FACTUAL BACKGROUND ....................................................................................3

ARGUMENT ...........................................................................................................17

I.       Plaintiffs Are Likely to Succeed on the Merits of Their Claims ...................17

         A.       Section 2(4)(a) of the Stop W.O.K.E. Act is a viewpoint-based
                  restriction on academic freedom that violates the First
                  Amendment. ........................................................................................17

                  1.       The Stop W.O.K.E. Act is a viewpoint-based restriction
                           on instructors’ speech in higher education. ..............................20

                  2.       The Stop W.O.K.E. Act is a viewpoint-based restriction
                           on students’ right to receive information. .................................27

                  3.       The Stop W.O.K.E. Act fails strict scrutiny. ............................28

         B.       The Stop W.O.K.E. Act is void for vagueness....................................29

II.      Absent an Injunction, Plaintiffs Will Suffer Irreparable Injury. ...................33

III.     The Balance of Equities Favors Granting a Preliminary Injunction. ............35

IV.      An Injunction Would Serve the Public Interest.............................................35

CONCLUSION ........................................................................................................37

CERTIFICATE OF COMPLIANCE .......................................................................39




                                                          i
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 3 of 46




                                    TABLE OF AUTHORITIES

CASES

Hill v. Colorado,
  530 U.S. 703 (2000).............................................................................................30

Arce v. Douglas,
  793 F.3d 968 (9th Cir. 2015) ...............................................................................27

Ashcroft v. ACLU,
  542 U.S. 656 (2004) ............................................................................................29

Ashton v. Kentucky,
  384 U.S. 195 (1966) ............................................................................................29

Barrett v. Walker Cnty. Sch. Dist.,
  872 F.3d 1209 (11th Cir. 2017) ...........................................................................33

Bazaar v. Fortune,
  476 F.2d 570 (5th Cir.), modified on reh’g, 489 F.2d 225 (5th Cir. 1973) .........19

BERT v. O’Connor,
  5:21-cv-01022-G (W.D. Okla. 2021) ..................................................................15

Bonner v. City of Prichard,
  661 F.2d 1206 (11th Cir. 1981) ...........................................................................19

Charles H. Wesley Educ. Found., Inc. v. Cox,
  408 F.3d 1349 (11th Cir. 2005) ...........................................................................17

Democratic Exec. Comm. of Fla. v. Lee,
  915 F.3d 1312 (11th Cir. 2019) ...........................................................................35

Elrod v. Burns,
   427 U.S. 347 (1976) ............................................................................................34

Gay Lesbian Bisexual All. v. Pryor,
  110 F.3d 1543 (11th Cir. 1997) ...........................................................................18


                                                         ii
        Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 4 of 46




Holloman ex rel. Holloman v. Harland,
  370 F.3d 1252 (11th Cir. 2004) ...........................................................................17

Honeyfund.com v. DeSantis,
 4:22-cv-00227-MW-MAF, 2022 WL 3486962 (N.D. Fla. Aug. 18, 2022)
  ................................................................................................................. 30, 31, 32

In re Dinnan,
   661 F.2d 426 (5th Cir. 1981) ...............................................................................18

Keyishian v. Bd. of Regents of Univ. of State of N. Y.,
  385 U.S. 589 (1967) ......................................................................... 24, 27, 30, 36

KH Outdoor, LLC v. City of Trussville,
  458 F.3d 1261 (11th Cir. 2006) .................................................................... 34, 35

Mejia v. Edelbut,
  1:21-cv-01077 (D.N.H. 2021) .............................................................................15

Minnesota Voters Alliance v. Mansky,
  138 S.Ct. 1876 (2018) .........................................................................................29

Regents of Univ. of Cal. v. Bakke,
  438 U.S. 265 (1978) ............................................................................................18

Reno v. ACLU,
  521 U.S. 844 (1997) ............................................................................................29

Roman Cath. Diocese of Brooklyn v. Cuomo,
  141 S. Ct. 63 (2020) ............................................................................................34

Rosenberger v. Rector & Visitors of Univ. of Va.,
  515 U.S. 819 (1995) .................................................................................... passim

Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump,
  508 F. Supp. 3d 521 (N.D. Cal. 2020).......................................................... 15, 30

Siegel v. LePore,
   234 F.3d 1163 (11th Cir. 2000) .................................................................... 17, 34



                                                             iii
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 5 of 46




Speech First, Inc. v. Cartwright,
  32 F.4th 1110 (11th Cir. 2022) .................................................................... passim

Stanley v. Georgia,
   394 U.S. 557 (1969). ...........................................................................................27

Sweezy v. New Hampshire,
  354 U.S. 234 (1957) ............................................................................... 21, 26, 36

Texas v. Johnson,
  491 U.S. 397 (1989) ............................................................................................18

Transcon. Gas Pipe Line Co. v. 6.04 Acres,
  910 F.3d 1130 (11th Cir. 2018) ...........................................................................36

United States v. Associated Press,
  52 F. Supp. 362 (S.D.N.Y. 1943) ........................................................................27

Whitney v. California,
  274 U.S. 357, 377 (1927) ....................................................................................18

Wieman v. Updegraff,
  344 U.S. 183 (1952) ............................................................................................26

Wollschlaeger v. Governor, Fla.,
  848 F.3d 1293 (11th Cir. 2017) ...........................................................................30

STATUTES

2022 Fla. Sess. Law Serv. Ch. 2022-154 ...................................................................8

Fla. Stat. § 1000.05 .......................................................................................... passim

Fla. Stat. § 1001.92(5)................................................................................................8

OTHER AUTHORITIES

10.005, Prohibition of Discrimination in University Training or Instruction, Bd. of
  Governors, State Univ. Sys. of Fla. (proposed July 1, 2022) .................................9


                                                          iv
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 6 of 46




2/1/22 House State Affairs Committee, The Florida Channel (Feb. 1, 2022), .........16

2/8/22 House Education and Employment Committee, The Florida Channel
   (Feb. 8, 2022).......................................................................................................16

Anna Wilder, Professors in Florida are Feeling the Chill from DeSantis’
 Education Legislation, The Miami Herald (Aug. 10, 2022) ................................34

Chantal Da Silva, Democrats Determined to See Roe v. Wade Overturned Face
 Backlash, Newsweek (Jan. 3, 2020) .......................................................................5

Civil Discourse Final Report, Bd. of Governors, State Univ. Sys. of Fla. (2022) ....4

Danielle Haynes, Study: Black Americans 3 Times More Likely to be Killed by
 Police, UPI (June 24, 2020) .................................................................................24

David Kaufman, The Fight for Fertility Equality, N.Y. Times (July 22, 2020) .......5

Editorial Board, University Professors are Afraid. Florida’s Crackdown on ‘Woke’
  Academia is Already Working, The Miami Herald (Aug. 10, 2022) ...................10

Jeremy C. Young & Jonathan Friedman, America’s Censored Classrooms,
   PEN America (Aug. 17, 2022) ..............................................................................5

John Blake, It’s Time to Talk About ‘Black Privilege’, CNN (Mar. 31, 2016) .......31

Letter from Black Faculty, Fla. State Univ., to Black Students at Fla. State Univ.,
  (June 4, 2020) .........................................................................................................5

Nate Cohn & Kevin Quealy, How Public Opinion Has Moved on Black Lives
 Matter, N.Y. Times (June 10, 2020) ......................................................................4

Press Release, Gov. Ron DeSantis, Governor DeSantis Announces Legislative
  Proposal to Stop W.O.K.E. Activism and Critical Race Theory in Schools and
  Corporations (Dec. 15, 2021) ...............................................................................16

Ryan Need, I’m a Professor and the ‘Stop Woke’ Act Creates a Climate of Fear for
 Florida Educators, Tampa Bay Times, (Aug. 16, 2022) .....................................10

Statement of Free Expression, State Univ. Sys. of Fla. (Apr. 15, 2019) ...................4


                                                            v
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 7 of 46




Univ. of Fla. Black Student Union, Improve Race Relations Here at the University
 of Florida, Change.org ...........................................................................................5

Woke, Meriam-Webster .............................................................................................1




                                                        vi
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 8 of 46




                                INTRODUCTION

      House Bill 7 (“H.B. 7”)—also known as the Stop Wrongs to Our Kids and

Employees Act (“Stop W.O.K.E. Act”)—unconstitutionally bans viewpoints

disfavored by the legislature, including those recognizing the existence of systemic

inequality and the importance of diversity, equity, and inclusion, from university

classrooms. It prohibits Plaintiffs and other instructors—from professors to

teaching assistants—from promoting so-called “woke”1 concepts, while permitting

instructors to denounce those same concepts. By extension, the Stop W.O.K.E. Act

denies students access to viewpoints on important issues such as privilege,

colorblindness, racism, and sexism.

      This law plainly violates instructors’ and students’ First Amendment rights

to free speech and access to information, and offends the well-established

constitutional principle of academic freedom. Under the guise of prohibiting

discrimination, the Act identifies eight officially proscribed viewpoints and

expressly prohibits teachers from endorsing them. Teachers are free, however, to

condemn those views. This is classic viewpoint discrimination.




1
 Merriam-Webster defines the term “woke” as “aware of and actively attentive to
important facts and issues (especially issues of racial and social justice).” Woke,
Meriam-Webster, https://www.merriam-webster.com/dictionary/woke (last visited
Aug. 21, 2022).
                                          1
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 9 of 46




      As a viewpoint-based restriction, the Stop W.O.K.E. Act is presumptively

unconstitutional and is subject to strict scrutiny. See Rosenberger v. Rector &

Visitors of Univ. of Va., 515 U.S. 819, 829–30 (1995). The Act cannot survive such

scrutiny because the government’s interest is precisely to silence viewpoints it

dislikes—an interest that, far from compelling, is impermissible.

      The Stop W.O.K.E. Act is also so vague that instructors lack fair notice

regarding how to comply with it, while the state retains unbridled discretion

regarding how and when to enforce it. This failure to provide notice is a due

process violation in a setting that requires especially clear guidelines because of

the chilling effect on speech that the statute’s open-ended and ill-defined terms

have. Instructors may risk individual lawsuits or punishment including termination,

and public colleges and universities risk losing state funding if they are found to

have violated the law’s vague terms. As a result, university instructors face an

impossible, and unconstitutional, choice: either censor their speech, violating the

principles of academic freedom and professional ethics, or risk official discipline.

Meanwhile, college and graduate students will be denied access to full and open

discussion on topics related to race and gender. Instead, their education will be

limited to the ideological parameters prescribed by the Florida legislature.




                                          2
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 10 of 46




      As argued below, the Stop W.O.K.E. Act violates Plaintiffs’ First and

Fourteenth Amendment rights.2 In view of the imminent and irreparable harm the

new law imposes on Plaintiffs and public higher education in Florida more

broadly, as instructors and students are about to begin a new school year, the Court

should move expeditiously to preliminarily enjoin enforcement of the Stop

W.O.K.E. Act’s higher education provisions, and any implementing regulations,

until this action can be fully adjudicated on the merits.

                           FACTUAL BACKGROUND

      Florida colleges and universities are tasked with fostering new ideas and

challenging prevailing wisdom. See Speech First, Inc. v. Cartwright, 32 F.4th

1110, 1128 (11th Cir. 2022). They must also reckon with the state’s history—the

good and the bad—and, at least in recent years, they have done so by encouraging

open discussion. In 2019, as conversations about racial injustice spread across the

country and Florida campuses, the State University System adopted a “Statement

of Free Expression,” affirming its commitment to “provide a learning environment




2
  Plaintiffs also allege that the Stop W.O.K.E. Act violates the Fourteenth
Amendment’s Equal Protection Clause because the legislature passed the law with
the intent to discriminate based on race. However, Plaintiffs are now moving for a
preliminary injunction only on their First Amendment claims and Fourteenth
Amendment vagueness claim.


                                           3
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 11 of 46




where divergent ideas, opinions, and philosophies, new and old, can be rigorously

debated and critically evaluated.” Statement of Free Expression, State Univ. Sys.

of Fla. (Apr. 15, 2019). 3 According to the Statement, individuals should remain

“free to express any ideas and opinions they wish, even if others may disagree with

them or find those ideas and opinions to be offensive or otherwise antithetical to

their own worldview . . . . [W]e must not let concerns over civility or respect be

used as a reason to silence expression.” Id.


      Today, key matters of public concern—and therefore campus discussion—

include race, gender, and sexuality. After the killings of George Floyd, Breonna

Taylor, and too many other Black people at the hands of police in 2020, there was

a national reckoning with systemic racism past and present.4 At the same time, the

bodily autonomy and equal rights of women and LGBTQ+ people were being




3
 Civil Discourse Final Report, Bd. of Governors, State Univ. Sys. of Fla. 9 (2022),
https://www.flbog.edu/wp-content/uploads/2022/01/SPC_09_Civil-
Discourse_Final_CE.pdf.
4
 See Nate Cohn & Kevin Quealy, How Public Opinion Has Moved on Black Lives
Matter, N.Y. Times (June 10, 2020),
https://www.nytimes.com/interactive/2020/06/10/upshot/black-lives-matter-
attitudes.html.


                                          4
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 12 of 46




hotly and publicly debated.5 Florida’s students, instructors, colleges and

universities regularly participated in these debates and activism. 6

      However, rather than encourage discussion on these critical issues, a wave of

backlash ensued in the form of state legislation seeking to limit challenging

discussions on race and gender. 7 As part of this movement, and in direct

contradiction of the State University System’s stated commitment to free

expression, on April 22, 2022, Governor Ron DeSantis signed into law the Stop

W.O.K.E. Act. While laws that seek to censor instruction related to race and

gender generally raise constitutional concerns, the Stop W.O.K.E. Act is unique in




5
  See, e.g., Chantal Da Silva, Democrats Determined to See Roe v. Wade
Overturned Face Backlash, Newsweek (Jan. 3, 2020),
https://www.newsweek.com/democrats-republicans-supreme-court-overturn-roe-v-
wade-lipinski-peterson-1480231; David Kaufman, The Fight for Fertility Equality,
N.Y. Times (July 22, 2020), https://www.nytimes.com/2020/07/22/style/lgbtq-
fertility-surrogacy-coverage.html?searchResultPosition=7.
6
 See e.g., Letter from Black Faculty, Fla. State Univ., to Black Students at Fla.
State Univ., (June 4, 2020),
https://myweb.fsu.edu/jelsner/Letter_to_Black_Students_From_Black_Faculty.pdf;
Univ. of Fla. Black Student Union, Improve Race Relations Here at the University
of Florida, Change.org, https://www.change.org/p/president-w-kent-fuchs-
improve-race-relations-here-at-the-university-of-florida (last visited Aug. 21,
2022); President Thrasher Letter Establishing the Task Force (July 23, 2020),
https://president.fsu.edu/taskforce/.
7
 Jeremy C. Young & Jonathan Friedman, America’s Censored Classrooms, PEN
America (Aug. 17, 2022), https://pen.org/report/americas-censored-classrooms/.


                                           5
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 13 of 46




banning from college and university classrooms certain viewpoints disfavored by a

majority of Florida state legislators.8

         The Stop W.O.K.E. Act amends Florida Statute 1000.05, which regulates

discrimination against students and employees in the K-20 system. 9 Section 2(4)(a)

of the Stop W.O.K.E. Act provides:

               It shall constitute discrimination on the basis of race,
               color, national origin, or sex under this section to subject
               any student or employee to training or instruction that
               espouses, promotes, advances, inculcates, or compels
               such student or employee to believe any of the following
               concepts:
                      1. Members of one race, color, national origin, or
                      sex are morally superior to members of another
                      race, color, national origin, or sex.
                      2. A person, by virtue of his or her race, color,
                      national origin, or sex is inherently racist, sexist, or
                      oppressive, whether consciously or unconsciously.
                      3. A person’s moral character or status as either
                      privileged or oppressed is necessarily determined
                      by his or her race, color, national origin, or sex.
                      4. Members of one race, color, national origin, or
                      sex cannot and should not attempt to treat others
                      without respect to race, color, national origin, or
                      sex.



8
  The Stop W.O.K.E. Act also applies to K-12 public education and employers, but
the operative Complaint is limited to the higher education context.
9
    See Fla. Stat. § 1000.05.
                                             6
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 14 of 46




                    5. A person, by virtue of his or her race, color,
                    national origin, or sex bears responsibility for, or
                    should be discriminated against or receive adverse
                    treatment because of, actions committed in the past
                    by other members of the same race, color, national
                    origin, or sex.
                    6. A person, by virtue of his or her race, color,
                    national origin, or sex should be discriminated
                    against or receive adverse treatment to achieve
                    diversity, equity, or inclusion.
                    7. A person, by virtue of his or her race, color, sex,
                    or national origin, bears personal responsibility for
                    and must feel guilt, anguish, or other forms of
                    psychological distress because of actions, in which
                    the person played no part, committed in the past by
                    other members of the same race, color, national
                    origin, or sex.
                    8. Such virtues as merit, excellence, hard work,
                    fairness, neutrality, objectivity, and racial
                    colorblindness are racist or sexist, or were created
                    by members of a particular race, color, national
                    origin, or sex to oppress members of another race,
                    color, national origin, or sex.
Section 2(4)(b) states that:
             Paragraph (a) may not be construed to prohibit discussion
             of the concepts listed therein as part of a larger course of
             training or instruction, provided such training or
             instruction is given in an objective manner without
             endorsement of the concepts.
      The Act applies to any person providing instruction at a public higher

education institution in Florida, including, but not limited to, professors, non-



                                           7
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 15 of 46




tenured lecturers, teaching assistants, and potentially even undergraduate students

leading a class or discussion.

      Under Florida Statute 1000.05’s framework, an “aggrieved” person can

pursue a private right of action, as well as reasonable attorney’s fees and costs, for

any alleged violation. Fla. Stat. § 1000.05(9). This statute also provides the Florida

Board of Governors with rulemaking and implementation authority, including the

ability to declare universities and colleges ineligible for competitive state grants for

noncompliance, and the Florida Board of Education with authority to “direct the

Chief Financial Officer to withhold general revenue funds sufficient to obtain

compliance.” See id. § (7)(g)(2). The Florida Board of Governors has separate

statutory authority to declare a “substantiated violation” of Fla. Stat. § 1000.05(4),

which causes the institution to “be ineligible to receive performance funding

during the next fiscal year following the year in which the violation is

substantiated.” Fla. Stat. § 1001.92(5).10




10
  The legislature enacted this statutory subsection in 2022 separately from the Stop
W.O.K.E. Act and in direct reference to the operative provision of the Stop
W.O.K.E. Act. See 2022 Fla. Sess. Law Serv. Ch. 2022-154, § 9 (“Contingent
upon HB 7 or similar legislation in the 2022 Regular Session or an extension
thereof becoming a law, subsections (5) and (6) of section 1001.92, Florida
Statutes, are redesignated as subsections (6) and (7), respectively, and a new
subsection (5) is added to that section . . . .”).


                                             8
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 16 of 46




       In furtherance of this specific statutory authority to evaluate potential

violations of the Stop W.O.K.E. Act and substantiate them for enforcement, the

Florida Board of Governors issued a Notice of Proposed New Regulation

[hereinafter BOG 10.005] immediately upon the Stop W.O.K.E. Act becoming law

on July 1, 2022.11 The proposed regulation provides that if the Board of Governors

determines that an instructor violated the Act, the Board “shall . . . take prompt

action to correct the violation by mandating that the employee(s) responsible for

the instruction or training modify it . . . , issu[e] disciplinary measures where

appropriate, and remove, by termination if appropriate, the employee(s) if there is a

failure or refusal to comply with the mandate.” BOG 10.005(3)(c). Put simply,

instructors could be fired for expressing viewpoints disfavored by the legislature.

The proposed regulation also specifies that if there was a knowing and willful

violation of the law, “the university will be ineligible for performance funding for

the next fiscal year.” Id. § (4)(d). While this specific regulation is still pending

completion of the rulemaking process, it illustrates the scope of statutory authority

given to the Board of Governors to implement the Stop W.O.K.E. Act’s viewpoint-

based restrictions.



 See 10.005, Prohibition of Discrimination in University Training or Instruction,
11


Bd. of Governors, State Univ. Sys. of Fla. (proposed July 1, 2022) ,
https://www.flbog.edu/wp-
content/uploads/2022/07/10.005NoticeofNewProposedRegulationJune2022-1.pdf.
                                            9
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 17 of 46




      The Board of Trustees of each university within the State University System

of Florida is the public body corporate of the institution. The Boards of Trustees

have primary responsibility and ownership of their respective institutions and are

endowed with the authority to set university policies within the laws of Florida and

the regulations of the Florida Board of Governors. As such, the Boards of Trustees

at Plaintiffs’ institutions are responsible for ensuring compliance with the Stop

W.O.K.E. Act on their campuses.

      Instructors in a variety of disciplines, including plaintiffs, fear they will be

penalized for, among other things, teaching that implicit bias, privilege, or inequity

are real—foundational principles widely accepted and supported by research in

their fields. 12 People teaching directly about race and sex in Florida universities,

like Plaintiffs LeRoy Pernell, Jennifer Sandoval, Sharon Austin, Dana Thompson

Dorsey, Shelley Park, and Marvin Dunn, understand that the law targets

coursework like theirs. They cannot impart their expertise and knowledge,

including any statements students could construe as endorsing or promoting any of


12
  See, e.g. Editorial Board, University Professors are Afraid. Florida’s Crackdown
on ‘Woke’ Academia is Already Working, The Miami Herald (Aug. 10, 2022),
https://www.miamiherald.com/opinion/editorials/article264373796.html. See also,
Ryan Need, I’m a Professor and the ‘Stop Woke’ Act Creates a Climate of Fear for
Florida Educators, Tampa Bay Times, (Aug. 16, 2022),
https://www.tampabay.com/opinion/2022/08/16/im-a-professor-at-uf-and-the-stop-
woke-act-creates-a-climate-of-fear-for-educators-column/.
                                          10
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 18 of 46




the eight banned viewpoints, on their areas of study, without risking their

professional reputations, employment, and livelihoods.

      For example, Plaintiff LeRoy Pernell, a law professor and former Dean at

Florida A&M University College of Law (“FAMU Law”), is “concerned that the

state government will strip FAMU Law of funding” if he teaches from his

casebook, “Combatting Racism in Criminal Procedure.” Exhibit 1, Pernell Decl. ¶¶

22, 29. The premise of the book and related coursework is his view that racism is

“embedded” in the American criminal legal system and that “all modern criminal

procedure is based on ‘race-conscious’ decision-making.” Id. at ¶ 22–23. These

viewpoints appear to run afoul of subsection 2(4)(a)(2) of the Stop W.O.K.E. Act,

which prohibits teaching that “[a] person, by virtue of his or her race, color,

national origin, or sex is inherently racist, sexist, or oppressive, whether

consciously or unconsciously.” According to Professor Pernell, the Act “directly

challenges a foundational notion of [his] pedagogy: that the legal system is not

race-neutral.” Pernell Decl. ¶ 26. Professor Pernell is especially sensitive to the

risks his teaching may bring upon his institution. As a former Dean who worked

tirelessly to regain the school’s accreditation after it was closed for decades, “[t]he




                                          11
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 19 of 46




success of FAMU Law and its continued financial sustainability, which relies on

state funding, are particularly important to [him].” Id. at ¶ 29.13

      Likewise, the Stop W.O.K.E. Act impacts the ability of Dr. Thompson

Dorsey, a professor at the University of South Florida College of Education, “to

teach School Law and Critical Race Studies because the courses and [her] research

are directly related to topics prohibited by the Act, namely systemic racism and

sexism.” Exhibit 2, Thompson Dorsey Decl. ¶ 41. For both of those classes,

“students need to be able to discuss the context and implications of such cases as

Brown v. Board of Education and Plessy v. Ferguson.” Id. at ¶ 44. Dr. Thompson

Dorsey “cannot facilitate those discussions without addressing white supremacy.”

Id. By speaking openly and honestly about white supremacy, Dr. Thompson

Dorsey worries she may receive complaints from white students who feel “guilt,

anguish, or other forms of psychological distress because of actions . . . committed

in the past by other members of the same race.” Fla. Stat. § 1000.05(2)(4)(a)(7).

      Plaintiff Marvin Dunn, professor emeritus of psychology at Florida

International University and author of many books on the history of Black people




13
  The Florida legislature closed FAMU Law in 1965 in response to students and
faculty supporting the Civil Rights movement. Pernell Decl. ¶ 12. Now, in 2022,
the school’s funding is at risk again because faculty hold views disfavored by the
Legislature.
                                          12
      Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 20 of 46




in Florida, fears that his instruction, which includes his personal narrative, puts him

at risk under that same provision of the Stop W.O.K.E. Act. Dr. Dunn explains that

“[t]elling my story has the potential to make a white person feel sad or ‘ashamed’

of the conduct of other white people.” Exhibit 7, Dunn Decl. ¶ 14. The law forces

him to “self-censor when discussing [his] own experiences.” Id. Dr. Dunn “grew

up during segregation when Jim Crow laws were in effect in Florida.” Id. at ¶ 13.

Speaking about his personal history also puts Dr. Dunn at risk of violating

subsection 2(4)(b) of the Stop W.O.K.E. Act which requires objectivity, because

“one cannot be ‘objective’ when discussing one’s own lived experience.” Id. at ¶

14.

       The Stop W.O.K.E. Act’s vague and viewpoint discriminatory restrictions

pose particularly grave risks to untenured faculty. As Declarant Daniel A. Smith, a

professor and chair of the University of Florida’s Department of Political Science,

explains, “[e]ven as Department Chair, there are limits to the protections that I can

offer other faculty members, particularly those without tenure.” Exhibit 9, Smith

Decl. ¶ 12. He worries that “some of the [untenured] faculty that we specifically

hired to teach about race, ethnicity, gender, and identity will be inhibited from

teaching what they were expressly hired to teach as a result of H.B. 7’s restrictions

on these very topics, making professional achievement and advancement at UF

difficult.” Id.

                                          13
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 21 of 46




      Even tenured instructors whose courses are not directly about race or sex are

chilled by the law. In all statistics classes taught by Plaintiff Russell Almond, a

professor of Measurement and Statistics in Florida State University’s College of

Education, “it is important that [his] students be aware of the research surrounding

race and its effect on educational and other economic outcomes. This includes

frank discussions of how past patterns of discriminatory laws and practices affect

observed differences between racial groups.” Exhibit 6, Almond Decl. ¶ 19.

Despite his understanding based on decades of research that it is important to

impart these ideas to students, Dr. Almond reasonably fears that this type of

discussion could violate the Stop W.O.K.E. Act’s prohibition on teaching that a

person’s “status as privileged or oppressed is necessarily determined by his or her

race.” Fla. Stat. §1000.005(4)(a)(3).

      Students, likewise, are concerned they will no longer learn from a diversity

of viewpoints on issues related to race or sex. Plaintiff Johana Dauphin, a student

at Florida State University, fears the Stop W.O.K.E. Act will limit her “ability to

learn about race-related issues in class, and learn to think critically about those

issues through honest, uncensored instruction.” Exhibit 8, Dauphin Decl. ¶ 22.

Ms. Dauphin is particularly concerned about how subsection 2(4)(a)(8), which

prohibits teaching that “colorblindness” can be racist, might impact her education,

because as she sees it, “H.B. 7 empowers instructors to ignore race-related issues

                                          14
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 22 of 46




in class, or even promote the ‘virtue’ of ‘colorblindness.’” Id. at ¶ 25. But, as Ms.

Dauphin “learned in Florida public schools throughout [her] life, pretending that

our society is ‘color blind’ means ignoring Black perspectives.” Id. at ¶ 25.

      Instructors’ and students’ fears of censorship are justified not only by the

law’s text, but also by its legislative provenance and context. The Stop W.O.K.E.

Act’s list of prohibited concepts originated in former President Trump’s Executive

Order 13950 (“EO 13950”), which a federal judge partially enjoined on

constitutional grounds. See Santa Cruz Lesbian & Gay Cmty. Ctr. v. Trump, 508 F.

Supp. 3d 521 (N.D. Cal. 2020) (holding that EO 13950 violated advocacy groups’

First Amendment rights because it required them to censor training and speech that

was unrelated to government funding, and that EO 13950 was unconstitutionally

vague because the plaintiffs had no way of knowing if teaching about unconscious

bias, for example, would be a violation). 14

      Florida politicians made clear through public statements that their

motivation in passing the law was to suppress what they called “woke”




14
  There is ongoing litigation challenging the constitutionality of Oklahoma’s H.B.
1775 and New Hampshire’s H.B. 2, both of which contain nearly identical lists of
“divisive concepts” lifted from EO 13950. See BERT v. O’Connor, 5:21-cv-01022-
G (W.D. Okla. 2021), and Mejia v. Edelbut, 1:21-cv-01077 (D.N.H. 2021).


                                          15
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 23 of 46




viewpoints 15—including viewpoints that systemic inequality, unconscious bias,

and privilege are real—from ever entering classrooms, unless the professors

express the legislature’s viewpoint and condemn the proscribed views. In addition

to titling the bill the “Stop W.O.K.E. Act,” Governor DeSantis said in his

announcement of the bill that became the Act that its purpose was to create a

“woke-free state of Florida.”16 Lieutenant Governor Jeanette Nuñez also confirmed

that the Stop W.O.K.E. Act would “put an end to wokeness that is permeating our

schools and workforce.” 17




15
  See Press Release, Gov. Ron DeSantis, Governor DeSantis Announces
Legislative Proposal to Stop W.O.K.E. Activism and Critical Race Theory in
Schools and Corporations (Dec. 15, 2021),
https://www.flgov.com/2021/12/15/governor-desantis-announces-legislative-
proposal-to-stop-w-o-k-e-activism-and-critical-race-theory-in-schools-and-
corporations; 2/1/22 House State Affairs Committee at 01:01:41.418—
01:02:47.944, The Florida Channel (Feb. 1, 2022),
https://thefloridachannel.org/videos/2-1-22-house-state-affairs-committee (in
which Stop W.O.K.E. Act sponsor Representative Bryan Avila argues that there is
no place for discussions of “white privilege,” or “systemic racism” in Florida’s
schools or workplaces); 2/8/22 House Education and Employment Committee at
00:33:48.470—00:35:14.868, The Florida Channel (Feb. 8, 2022),
https://thefloridachannel.org/videos/2-8-22-house-education-employment-
committee/ (in which Rep. Avila identifies texts examining white privilege and
white supremacy as “absolutely un-American”).
16
     Dec. 15, 2021 Press Release, Gov. Ron DeSantis, supra note 14.
17
     Id.
                                         16
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 24 of 46




                                    ARGUMENT

        A preliminary injunction is warranted under Fed R. Civ. P. 65 where

Plaintiffs show: “(1) a substantial likelihood of success on the merits; (2)

irreparable injury will be suffered unless the injunction issues; (3) the threatened

injury to the movant[s] outweighs whatever damage the proposed injunction may

cause to the opposing party; and (4) if issued, the injunction would not be adverse

to the public interest.” Charles H. Wesley Educ. Found., Inc. v. Cox, 408 F.3d

1349, 1354 (11th Cir. 2005) (quoting Siegel v. LePore, 234 F.3d 1163, 1176 (11th

Cir. 2000) (en banc)). As set forth below, Plaintiffs meet all four prongs of this

standard.

   I.        Plaintiffs Are Likely to Succeed on the Merits of Their Claims.

        A.      Section 2(4)(a) of the Stop W.O.K.E. Act is a viewpoint-based
                restriction on academic freedom that violates the First
                Amendment.

        “One of the most egregious types of First Amendment violations is

viewpoint-based discrimination.” Holloman ex rel. Holloman v. Harland, 370 F.3d

1252, 1279 (11th Cir. 2004). Viewpoint-based discrimination, a subset of content-

based discrimination in which the government prohibits the expression of

disfavored views on a subject, is presumptively unconstitutional and subject to

strict scrutiny. Rosenberger, 515 U.S. at 828; Speech First, 32 F.4th at 1126.

Indeed, the First Amendment’s “bedrock principle” provides that the “government

                                          17
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 25 of 46




may not prohibit the expression of an idea simply because society finds the idea

itself offensive or disagreeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989).

Redress for bad ideas comes through “discussion [of] the falsehood and fallacies”

and “the processes of education”—“not enforced silence.” Id. at 419 (quoting

Whitney v. California, 274 U.S. 357, 377 (1927) (Brandeis, J., concurring)).

      This is particularly true in the context of higher education. “[T]he dangers of

viewpoint discrimination are heightened in the university setting.” Speech First, 32

F.4th at 1127 n. 6 (quoting Gay Lesbian Bisexual All. v. Pryor, 110 F.3d 1543,

1550 (11th Cir. 1997)). This is because “[c]olleges and universities serve as the

founts of—and the testing grounds for—new ideas.” Id. at 1128. Thus, “[a]cademic

freedom, though not a specifically enumerated constitutional right, long has been

viewed as a special concern of the First Amendment.” Regents of Univ. of Cal. v.

Bakke, 438 U.S. 265, 312 (1978); see also In re Dinnan, 661 F.2d 426, 430 (5th

Cir. 1981) (“Time after time the Supreme Court has upheld academic freedom in

the face of government pressure.”).

      Nearly 50 years ago, this circuit recognized that precedent “leave[s] no room

for the view that . . . First Amendment protections should apply with less force on

college campuses than in the community at large.” Bazaar v. Fortune, 476 F.2d




                                         18
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 26 of 46




570, 572, 580 (5th Cir.), modified on reh’g, 489 F.2d 225 (5th Cir. 1973).18 The

Stop W.O.K.E. Act violates the First Amendment because it prohibits certain

viewpoints while permitting others, thereby undermining the “historical role of the

University in . . . serving in the vanguard in the fight for freedom of expression and

opinion.” Bazaar, 476 F.2d at 580.

        In Rosenberger v. Rector & Visitors of Univ. of Virginia, the Supreme Court

held that a university funding policy violated the First Amendment because it “cast

disapproval on particular viewpoints.” 515 U.S. at 836. There, a student group

followed university procedures to request funding for its newspaper, “Wide Awake:

A Christian Perspective at the University of Virginia.” Id. at 826. Its funding

request was denied based on guidelines prohibiting funding for activities that

“primarily promote[] or manifest[] a particular belie[f] in or about a deity or an

ultimate reality.” Id. at 825. The Supreme Court explained that that the denial of

funding—and the guidelines themselves—violated the First Amendment, because

they “risk[ed] the suppression of free speech and creative inquiry in one of the vital

centers for the Nation's intellectual life, its college and university campuses.” Id. at

836.



18
  In Bonner v. City of Prichard, the Eleventh Circuit adopted as binding all of the
decisions of the former Fifth Circuit handed down prior to the close of business on
September 30, 1981. 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
                                          19
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 27 of 46




      The Stop W.O.K.E. Act stymies speech and inquiry in much the same way.

By prohibiting instruction that “promotes” particular views, the Act—like the

Rosenberger policy—“effects a sweeping restriction” that covers any “advoca[cy]

[of] a philosophic position that rests upon” those views. See id. The Rosenberger

Court even foresaw and dismissed as unconstitutional statutes like the Stop

W.O.K.E. Act, stating “[i]f the topic of debate is, for example, racism, then

exclusion of [targeted] views on that problem is . . . offensive to the First

Amendment . . . .” Id. at 831.

      To be sure, a state can and must prohibit discrimination in higher education.

For example, a professor could claim no First Amendment right to direct

disparaging racial slurs at a student. But a state may not, in the guise of fighting

discrimination, single out disfavored viewpoints and prohibit their expression or

endorsement, taking sides on matters of public controversy. That is precisely what

the Stop W.O.K.E. Act does.

             1.     The Stop W.O.K.E. Act is a viewpoint-based restriction on
                    instructors’ speech in higher education.

      Section 2(4)(a) of the Stop W.O.K.E. Act identifies eight specific views, and

prohibits university instructors from providing “instruction” that “promotes” or

“advances” them. The Act permits instruction that denounces the legislature’s




                                          20
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 28 of 46




forbidden views. The plain text of the law thus expressly takes sides, and

discriminates on the basis of viewpoint.

      The First Amendment harms inflicted by the Stop W.O.K.E. Act are

particularly clear “in the social sciences, where few, if any, principles are accepted

as absolutes[,] . . . [and t]eachers and students must always remain free to inquire,

to study and to evaluate, to gain new maturity and understanding; otherwise our

civilization will stagnate and die.” Sweezy v. New Hampshire, 354 U.S. 234, 250

(1957). Plaintiffs LeRoy Pernell, Jennifer Sandoval, Dana Thompson Dorsey,

Sharon Austin, Shelley Park, and Marvin Dunn, as instructors in social science

fields, will therefore be uniquely harmed. But the Act goes further. It also prohibits

teaching about scientific studies that reach conclusions disagreeable to the Florida

legislature. Researchers typically test a hypothesis by developing a methodology,

gathering data, analyzing the data, and considering whether the data compel the

conclusion that the hypothesis is true or false. If an instructor believes a study

conducted each of those steps soundly, they would logically believe the conclusion

and promote its truth to students. Under the Stop W.O.K.E. Act, however, whether

an instructor may do so depends on which viewpoint the research supports.

      Each of the prohibited concepts is a viewpoint protected by the First

Amendment. For example, supported by decades of research, many Florida


                                           21
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 29 of 46




instructors, including Dr. Austin, teach that unconscious bias is pervasive. See,

e.g., Exhibit 3, Austin Decl. ¶¶ 35, 40. Doing so, however, would be prohibited

under Section 1000.05(4)(a)(2) of the Act if construed to “advance” the view that

“[a] person, by virtue of his or her race, color, national origin, or sex is inherently

racist, sexist, or oppressive, whether consciously or unconsciously.” Fla. Stat. §

1000.05(4)(a)(2).

      Other provisions of the law raise similar concerns. Section 1000.05(4)(a)(7)

prohibits instruction that “[a] person, by virtue of his or her race, color, sex or

national origin, bears personal responsibility for and must feel guilt, anguish, or

other forms of psychological distress because of actions, in which the person

played no part, committed in the past by other members of the same race, color,

national origin, or sex,” effectively banning instruction that people bear

responsibility for the legacy of historical oppression and its continuing effects. Id.

§ (4)(a)(7). For example, instructors could not teach that past racial injustice is

linked to personal experiences today and that people bear responsibility to try to

rectify that injustice, but could teach that everyone starts with a blank slate,

uninhibited by the legacies of historic discrimination. The Act’s selective

censorship of one view while permitting the other is textbook viewpoint

discrimination.



                                           22
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 30 of 46




       Similarly, Section 1000.05(4)(a)(5) prohibits instructors from exposing

students to “instruction that . . . promotes . . . the . . . concept[] [that] . . . [a]

person, by virtue of his or her race, color, national origin, or sex bears

responsibility for, or should be discriminated against or receive adverse treatment

because of, actions committed in the past by other members of the same race,

color, national origin, or sex.” Id. § (4)(a)(5). This prohibition effectively outlaws

instruction that promotes affirmative action policies or any other initiatives that

take race into account to counteract the continuing effects of past discrimination.

At the same time, instructors are free to condemn efforts to bridge racial gaps in

opportunities, because that is the viewpoint favored by the Florida legislature. The

validity of affirmative action is currently being litigated in the Supreme Court, but

under the Act, Florida’s college teachers can take only one side.

       Likewise, Section 1000.05(4)(a)(3) risks chilling candid discussion of the

relationship between Black people and law enforcement, a matter of immense

public concern. The Act prohibits teaching that “[a] person’s moral character or

status as either privileged or oppressed is necessarily determined by his or her race,

color, national origin, or sex.” Id. § (4)(a)(3). Thus an instructor cannot teach that

white people enjoy a “[privileged] status”—i.e., an unearned advantage or

benefit—when interacting with police despite overwhelming evidence that they are

significantly less likely than Black people to be stopped and searched, and to be

                                              23
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 31 of 46




killed during a police encounter. 19 But the Act permits instruction that white

privilege does not exist, and that there is no correlation between race and privilege.

      In yet another example of its clear unconstitutionality, the Act prohibits

teaching that “[s]uch virtues as merit, excellence, hard work, fairness, neutrality,

objectivity, and racial colorblindness are racist or sexist, or were created by

members of a particular race, color, national origin, or sex to oppress members of

another race, color, national origin, or sex.” Id. § (4)(a)(8). So an instructor cannot

convey the idea that “racial colorblindness [is] racist,” but can espouse the view

that racial colorblindness is not racist; cannot teach that assessments of merit

sometimes incorporate racial bias, but can teach that they never do; cannot teach

that colorblindness can perpetuate past and present inequality, but can teach that

colorblindness solves racism. Similarly, one could not teach that conceptions of

“objectivity” may conceal implicit bias, but one can teach that they never do. Here,

again, the law makes an “authoritative selection” as to which ideas are permissible,

and which must be censored based on viewpoint. See Keyishian v. Bd. of Regents

of Univ. of State of N. Y., 385 U.S. 589, 603 (1967).




19
  Danielle Haynes, Study: Black Americans 3 Times More Likely to be Killed by
Police, UPI (June 24, 2020),
https://www.upi.com/Top_News/US/2020/06/24/Study-Black-Americans-3-times-
more-likely-to-be-killed-by-police/6121592949925/.
                                          24
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 32 of 46




      As Dr. Almond explains, Section 1000.005(4)(a)(8) “limits negative

statements about merit, excellence, and hard work.” Almond Decl. ¶ 12 But he

believes that “[a]lthough these may make a strong difference in the achievement of

individuals, they are not important factors when looking at the performance of

groups, where differences in talent and effort should average out.” Id. The Act

prohibits him from teaching or endorsing that view, however. In Dr. Almond’s

view, Section 1000.05(4)(a)(8) allows teachers to teach “that differences in ‘merit’

or ‘effort’ could account for observed racial differences,” but does not allow them

to teach that “[t]his echoes long-discredited theories of eugenics.” Id.

      Dr. Park’s scholarship directly challenges the concept of “objectivity,”

because “objectivity frequently reflect[s] dominant white, straight, male values.”

Exhibit 4, Park Decl. ¶ 30. This view, according to Dr. Park, is grounded in “a

longstanding consensus among feminist philosophers, critical race theorists, and

others that notions of merit, objectivity, colorblindness and so forth function to

solidify systems of oppression—disguising biased standards as ones that are

allegedly neutral.” Id. at ¶ 16. But despite being supported by decades of

scholarship in her field, Dr. Park cannot express these views without violating

Section 1000.05(4)(a)(8)’s prohibition on teaching that “objectivity . . . [is]

sexist.”



                                          25
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 33 of 46




      By dictating state-endorsed and state-proscribed views on controversial

issues, the Stop W.O.K.E Act precludes Plaintiffs and other instructors from

serving as “exemplars of open-mindedness and free inquiry,” Wieman v.

Updegraff, 344 U.S. 183, 196 (1952) (Frankfurter, J., concurring), and instead

forces them to speak with one mind—the Florida legislature’s mind—in order to

avoid private lawsuits, professional discipline, or the withholding of state funding

from their institutions. The resulting danger of “chilling [] individual thought and

expression . . . is especially real in the University setting, where the State acts

against a background and tradition of thought and experiment that is at the center

of our intellectual and philosophic tradition.” Rosenberger, 515 U.S. at 835.

      All views proscribed by the Act, whether they are widely condemned or

broadly supported, are protected speech. The enforced “absence of such voices”—

particularly on college and university campuses—“would be a symptom of grave

illness in our society,” Sweezy, 354 U.S. at 251. By compelling all teachers to

avoid expressing disfavored views on issues of public controversy, the law plainly

violates the First Amendment. See Rosenberger, 515 U.S. at 829.




                                           26
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 34 of 46




             2.    The Stop W.O.K.E. Act is a viewpoint-based restriction on
                   students’ right to receive information.

      By prohibiting instructors like Plaintiffs from teaching disfavored concepts,

the Stop W.O.K.E. Act also denies college students like Plaintiff Dauphin the right

to learn from and openly discuss those viewpoints.

      The Supreme Court has long held that the First Amendment protects not

only the right to speak but also “the right to receive information and ideas.” Stanley

v. Georgia, 394 U.S. 557, 564 (1969). This, too, applies with special force in the

higher education context. As the Eleventh Circuit recently held, the “chief mission

[of universities] is to equip students to examine arguments critically and, perhaps

even more importantly, to prepare young citizens to participate in the civic and

political life of our democratic republic.” Speech First, 32 F.4th at 1128; see also

Arce v. Douglas, 793 F.3d 968, 988 (9th Cir. 2015) (recognizing that students’

“First Amendment right to receive information” was implicated by an Arizona law

targeting a Chicano Studies curriculum).

      Students can be prepared for participation in democratic society only if they

are “trained through wide exposure to that robust exchange of ideas which

discovers truth ‘out of a multitude of tongues, (rather) than through any kind of

authoritative selection.’” Keyishian, 385 U.S. at 603 (quoting United States v.

Associated Press, 52 F. Supp. 362, 372 (S.D.N.Y. 1943)). The Stop W.O.K.E. Act

                                         27
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 35 of 46




denies students that training—indeed, it denies them the opportunity to sharpen

their minds by engaging in debate with differing viewpoints—and instead

mandates which views students are permitted to learn. For example, Plaintiff

Dauphin has taken several classes about race and gender, and she is enrolled in two

classes this semester that are likely to implicate the Stop W.O.K.E. Act—Race &

Minority Relations and Religion, Race, and Ethnicity. Dauphin Decl. ¶¶ 18, 20.

She and other students credibly fear that because of the Act, their “professor[s] will

not be able to provide all of the information they have in past versions of the

course, and might water down the views they express about race.” Id. at ¶ 21. And

professor Plaintiffs are also worried about the law’s potential impact on the rights

of their students. Dr. Thompson Dorsey believes the “concepts prohibited by the

Stop W.O.K.E. Act prevent higher education students from learning about different

perspectives and lived experiences.” Thompson Dorsey Decl. ¶ 38. Professor

Pernell agrees. He worries that the Stop W.O.K.E. Act “chills student speech in the

classroom, as students will be afraid to express their views on race in a way that

they now perceive is contrary to Florida law.” Pernell Decl. ¶ 27.

             3.    The Stop W.O.K.E. Act fails strict scrutiny.

      Because it facially discriminates on the basis of viewpoint, the Stop

W.O.K.E Act is unconstitutional “seemingly as a per se matter.” Speech First, 32

F.4th at 1126. “[R]estrictions based on content must satisfy strict scrutiny, and

                                         28
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 36 of 46




those based on viewpoint are prohibited.” Minnesota Voters Alliance v. Mansky,

138 S.Ct. 1876, 1885 (2018). So the Court can enjoin the law without even

applying strict scrutiny.

      Even if the Court were to apply strict scrutiny, however, the Act fails, as it is

not “narrowly tailored to achieve a compelling government interest.” Ashcroft v.

ACLU, 542 U.S. 656, 656 (2004). The government’s objective is stopping what it

calls “wokeness,” that is, silencing a set of disfavored viewpoints. That is not a

legitimate state interest, much less a compelling one; indeed, it is categorically

impermissible. See Rosenberger, 515 U.S. at 828–29 (“The government must

abstain from regulating speech when the specific motivating ideology or the

opinion or perspective of the speaker is the rationale for the restriction.”).

      B.     The Stop W.O.K.E. Act is void for vagueness.

      The Act is also unconstitutionally vague, in violation of the Fourteenth

Amendment. The Supreme Court has held that vague laws implicating speech are

particularly concerning. Ashton v. Kentucky, 384 U.S. 195, 200 (1966); see also

Reno v. ACLU, 521 U.S. 844, 871–72 (1997) (holding that a vague, content-based

regulation on speech “raises special First Amendment concerns because of its

obvious chilling effect on free speech.”).




                                          29
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 37 of 46




      The Supreme Court has warned that, particularly in the education context,

“[t]he danger of [the] chilling effect upon the exercise of vital First Amendment

rights must be guarded against by sensitive tools which clearly inform teachers

what is being proscribed.” Keyishian, 385 U.S. at 604. Instead, the Stop W.O.K.E.

Act’s vague language forces ordinary persons to guess at its meaning—with

substantial consequences if they guess wrong.

      There are two independent reasons a statute may be void for vagueness:

“First, if it fails to provide people of ordinary intelligence a reasonable opportunity

to understand what conduct it prohibits. Second, if it authorizes or even encourages

arbitrary and discriminatory enforcement.” Hill v. Colorado, 530 U.S. 703, 732

(2000); accord Wollschlaeger v. Governor, Fla., 848 F.3d 1293, 1319 (11th Cir.

2017) (en banc). The Stop W.O.K.E. Act fails on both fronts. Indeed, a federal

court examining many of the same banned concepts in EO 13950 held the plaintiffs

in that case were likely to succeed on the merits of their vagueness claim, and

preliminarily enjoined enforcement of the government’s ban of the concepts. Santa

Cruz Lesbian & Gay Cmty. Ctr., 508 F. Supp. 3d at 543.

      The Stop W.O.K.E. Act includes ambiguous language throughout that could

be interpreted in multiple ways. As this Court recently held in Honeyfund.com v.

DeSantis, concepts 1 and 4 are “certainly” unconstitutionally vague. 4:22-cv-

00227-MW-MAF, 2022 WL 3486962, at *12 (N.D. Fla. Aug. 18, 2022). While

                                          30
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 38 of 46




that lawsuit challenges the Act’s application to employers, rather than instructors

and students, the vagueness analysis is the same. Section 1000.05(4)(a)(1)

prohibits teaching that “[m]embers of one race, color, national origin, or sex are

morally superior to members of another race, color, national, origin, or sex.” Fla.

Stat. §1000.05(4)(a)(1). But the meaning of “morally superior” is opaque.

Honeyfund.com, 2022 WL 3486962, at *12. Other provisions are similarly unclear.

For example, Section 1000.05(4)(a)(3) which, as argued infra Part I.A.1, limits

speech about white privilege, arguably also bans teaching that race-based programs

confer a privileged status on marginalized individuals, because such instruction

constitutes espousing the concept that an individual’s “status as . . . privileged”

depends on race or another identity factor. Id. § (4)(a)(3).20

      Perhaps the most puzzling language is found in Section 1000.05(4)(a)(4),

which prohibits instructors from advancing the concept that “[m]embers of one

race, color, national origin, or sex cannot and should not attempt to treat others

without respect to race, color, national origin, or sex.” Id. § (4)(a)(4). This

language is indecipherable. One is forced to guess, at risk of losing one’s job, what

it means to “not attempt to treat others without respect to race, color, national

origin, or sex.” Does that permit recognition that someone has a particular racial



 See, e.g., John Blake, It’s Time to Talk About ‘Black Privilege’, CNN (Mar. 31,
20


2016), https://www.cnn.com/2016/03/30/us/black-privilege/index.html.
                                           31
       Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 39 of 46




identity, or that certain characteristics are associated with particular sexes? Does it

permit advocacy of the inclusion of perspectives from people of different races or

sexes, or does that treat them differently and is therefore forbidden? This provision

raises more questions than it answers. See Honeyfund.com, 2022 WL 3486962, at

*13.

        Section 1000.05(4)(b) is also impermissibly vague and, since it applies to all

eight of the disfavored viewpoints, renders them all vague by extension. That

provision states that the list of banned concepts “may not be construed to prohibit

discussion of the concepts listed therein as part of a larger course of training or

instruction, provided such training or instruction is given in an objective manner

without endorsement of the concepts.” Fla. Stat §1000.05(4)(b). But how is one to

assess whether a discussion is “objective?” Can the instructor express the view that

one side of an argument on these subjects is stronger than the other, or would that

impermissibly deviate from “objectivity?” Philosophers have for centuries debated

what “objectivity” means, and sociologists and historians have frequently

demonstrated that one person’s objectivity is another’s bias. The only safe course,

given this ambiguity, is to avoid the subjects altogether, or to parrot the

legislature’s condemnations of the eight proscribed views. Plaintiffs and other

instructors cannot know if any deviation from “objectivity,” including any



                                          32
      Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 40 of 46




expression of personal opinions or beliefs, might violate the law and risk official

discipline.21

           In addition to failing to provide sufficient notice, the Stop W.O.K.E. Act’s

ambiguity leaves the government with unbridled discretion to determine whether

or not an instructor has violated the law—discretion that, as discussed above, will

almost certainly be applied in a viewpoint-based way. See Barrett v. Walker Cnty.

Sch. Dist., 872 F.3d 1209, 1229 (11th Cir. 2017) (holding that vague regulations

create the “risk that speech will be chilled or effectively censored on the basis of

content or viewpoint”).

           The impact of not feeling comfortable to bring one’s identity into the

classroom has been profound, especially on Black professors, many of whom teach

courses that directly analyze race and gender. Dr. Austin, a professor of political

science at the University of Florida, fears an exodus of Black colleagues and

students whose representation is already woefully small. Austin Decl. ¶ 50.

     II.      Absent an Injunction, Plaintiffs Will Suffer Irreparable Injury.

     It is well established that “[t]he loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.” Roman



21
  As noted above, Drs. Park and Sandoval’s research and teaching directly challenge
the notion of objectivity. Park Decl. ¶ 16; Sandoval Decl. ¶ 17.
                                             33
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 41 of 46




Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (per curiam)

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion)); KH

Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006). And the

Eleventh Circuit has found that there is a presumption of irreparable harm where,

as here, “pure speech” is chilled. See Siegel, 234 F.3d at 1178.

       If the Stop W.O.K.E. Act is not enjoined, professor-Plaintiffs will be stifled

in their teaching, and students like Plaintiff Dauphin will be denied the right to

hear viewpoints with which the legislature disagrees. The irreparable injury caused

by the Act has already begun. Some professors, believing they can no longer

accurately and thoroughly teach their subjects while complying with the Act, have

decided to stop teaching in Florida.22 Those who remain must choose to either self-

censor or risk official discipline or private lawsuits for continuing to present their

students with what they consider to be a comprehensive and accurate education in

their area of expertise. See, e.g., Austin Decl. ¶ 44; Exhibit 5, Sandoval Decl. ¶¶

13, 23, 26; Almond Decl. ¶¶ 30–31; Thompson Dorsey Decl. ¶ 51; Pernell Decl. ¶




22
  Anna Wilder, Professors in Florida are Feeling the Chill from DeSantis’
Education Legislation, The Miami Herald (Aug. 10, 2022),
https://www.miamiherald.com/news/local/education/article263966316.html.
                                          34
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 42 of 46




28; Dunn Decl. ¶ 14. And due to the vagueness of the law’s language, it will

inevitably chill more speech than may be prohibited by the law.

   III.   The Balance of Equities Favors Granting a Preliminary Injunction.

      The threatened injury to Plaintiffs’ First Amendment rights outweighs any

damage an injunction might cause Defendants, because the government “has no

legitimate interest in enforcing an unconstitutional [statute].” KH Outdoor, 458

F.3d at 1272. Even if government officials—or a court—disliked an instructor’s

so-called “woke” viewpoints, tolerating those viewpoints is “a cost that ‘We the

People’ have accepted as necessary to protect free-speech interests more

generally.” Speech First, 32 F.4th at 1128.

      Moreover, the Stop W.O.K.E. Act does not remedy any actual harm. See

Compl. ¶ 161, ECF No.1. While proponents of the Stop W.O.K.E Act repeatedly

claimed the law would stop “indoctrination” in schools, they were unable to show

any evidence of indoctrination in Florida’s college and university classrooms. Id. at

¶ 130. No harm will ensue if the Court enjoins government officials from attacking

a problem that does not exist.

   IV.    An Injunction Would Serve the Public Interest.

      “[T]he public interest is served when constitutional rights are protected.”

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir. 2019).


                                         35
     Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 43 of 46




And “[n]owhere is free speech more important than in our leading institutions of

higher learning.” Speech First, 32 F.4th at 1128. Academic freedom—uninhibited

by state-imposed, viewpoint-based censorship—“is of transcendent value to all of

us,” Keyishian, 385 U.S. at 603. For this reason, this Rule 65 factor favors the

entry of a preliminary injunction. 23

      The Stop W.O.K.E. Act’s viewpoint-based restrictions strip instructors of

their academic freedom and “impose a[] strait jacket upon the intellectual leaders

in our colleges and universities,” which ultimately “imperil[s] the future of our

Nation.” Sweezy, 354 U.S. at 250. A preliminary injunction against the

enforcement of the Stop W.O.K.E. Act would allow Florida universities to

continue cultivating vital scholarship and tolerant, critical thinkers, preserving the

status quo until the Court has an opportunity to fully consider the merits of

Plaintiffs’ claims.




23
  While courts in this circuit generally require a bond before issuing injunctive
relief under Federal Rule of Civil Procedure 65(c), it is within the district court’s
discretion to waive the security requirement. See Transcon. Gas Pipe Line Co. v.
6.04 Acres, 910 F.3d 1130 (11th Cir. 2018). Because constitutional rights of public
interest are at stake and damage to Defendants resulting from a wrongful issuance
of a preliminary injunction cannot be shown, Plaintiffs request that this Court
waive the bond requirement here.
                                          36
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 44 of 46




                                 CONCLUSION

      For the above reasons, Plaintiffs respectfully ask this Court to preliminarily

enjoin Defendants from enforcing the Act.

 Respectfully submitted,                      Dated: August 24, 2022

/s/ Jerry C. Edwards                          AMERICAN CIVIL LIBERTIES
Jerry Edwards                                 UNION FOUNDATION
Fla. Bar No. 1003437                          /s/ Emerson Sykes
American Civil Liberties Union                Emerson Sykes*
Foundation of Florida                         Leah Watson
933 Lee Road, Suite 102                       Sarah Hinger
Orlando, FL 32810                             Laura Moraff
(786) 363-1107                                125 Broad Street, 18th Floor
jedwards@aclufl.org                           New York, NY 10004
                                              (212) 549-2500
AMERICAN CIVIL LIBERTIES                      esykes@aclu.org
UNION FOUNDATION OF                           lwatson@aclu.org
FLORIDA, INC.                                 shinger@aclu.org
/s/ Daniel B. Tilley                          lmoraff@aclu.org
Daniel B. Tilley
Fla. Bar No. 102882                           BALLARD SPAHR LLP
Katherine H. Blankenship                      /s/ Jason Leckerman
Fla. Bar No. 1031234                          Jason Leckerman*
Caroline McNamara**                           1735 Market Street, 51st Floor
4343 West Flagler Street, Suite 400           Philadelphia, PA 19103-7599
Miami, Florida 33134                          (215) 864-8266
(786) 363-2707                                leckermanj@ballardspahr.com
dtilley@aclufl.org
kblankenship@aclufl.org                       Charles Tobin
cmcnamara@aclufl.org                          Fla. Bar No. 816345
                                              1909 K Street NW, 12th Floor
NAACP LEGAL DEFENSE AND                       Washington, D.C. 20006
EDUCATIONAL FUND, INC.                        (202) 661-2200
                                              tobinc@ballardspahr.com
/s/ Morenike Fajana
Morenike Fajana*

                                         37
   Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 45 of 46




40 Rector Street, 5th Floor
New York, NY 10006                     Jacqueline Mabatah*
(212) 217-1690                         201 South Main Street, Suite 800
mfajana@naacpldf.org                   Salt Lake City, UT 84111-2221
                                       (801) 531-3063
Jin Hee Lee*                           mabatahj@ballardspahr.com
Santino Coleman*
700 14th Street, Ste. 600              Isabella Salomão Nascimento*
Washington, D.C. 20005†                2000 IDS Center, 80 South 8th Street
(202) 682-1300                         Minneapolis, MN 55402-2119
jlee@naacpldf.org                      (612) 371-3281
scoleman@naacpldf.org                  salomaonascimentoi@ballardspahr.com

Counsel for Plaintiffs                 †Mailing address only (licensed in and
                                       working remotely from South Carolina)
                                       *(motion for admission pro hac vice
                                       forthcoming)
                                       **(Florida Bar admission pending)




                                  38
    Case 4:22-cv-00304-MW-MAF Document 13 Filed 08/24/22 Page 46 of 46




                      CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of Local Rule 7.1(F) because,

excluding the parts of the document exempted by the rule, this document contains

7,933 words. This document complies with the type-style requirements of Local

Rule 5.1(C) because this document has been prepared in a proportionally spaced

typeface using the word-processing system Microsoft Word 2016 in 14-point Times

New Roman. Because no attorney has entered an appearance on Defendants’ behalf,

Counsel is unable to meet and confer at this time. Counsel will file an amended Rule

7.1(B) certificate once Defendants’ counsel enters an appearance.

Dated: August 24, 2022                       By:   /s/ Jerry C. Edwards
                                                   Jerry Edwards




                                        39
